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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                             Case No. 20-20230 (PRW)

                                Debtor.


 Advisory Trust Group, LLC, as trustee of the RDC              Adv. Proc. No. 22-02008 (PRW)
 LIQUIDATING TRUST,

                                Plaintiff,
           v.

 ASTRAZENECA LP,

                                Defendant.


                                        CERTIFICATE OF SERVICE

          On May 8, 2025, I caused to be served true and correct copies of the Plaintiff’s Fifth Status

Report and Response to Case Management Order and Order to Show Cause [Docket No. 41] on

defendant as follows:




LA:4917-8752-6977.1 75015.003
    Case 2-22-02008-PRW, Doc 42, Filed 05/08/25, Entered 05/08/25 17:57:25,
                     Description: Main Document , Page 1 of 2
      By email as follows:

                Counsel to Defendant Astrazeneca LP
                Lee E. Woodard, Esq.
                Brian D. Roy, Esq.
                Harris Beach PLLC
                333 W. Washington St., Suite 200
                Syracuse, NY 13202
                Email: bkemail@harrisbeach.com

         I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

         Executed this 8th day of May, 2025, at Los Angeles, California.

                                                   /s/ Nancy H. Brown
                                                       Nancy H. Brown




LA:4917-8752-6977.1 75015.003            2
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                     Description: Main Document , Page 2 of 2
